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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )
v.                                        )      Case No. 19-40091-DDC
                                          )
JARRETT WILLIAM SMITH,                    )
                                          )
                     Defendant.           )


                                         ORDER

       On September 26, 2019 an Order of Detention Pending Trial (ECF No. 7) was

erroneously filed with the court stating the Defendant waived his right to a detention

hearing. Defendant did not waive his right to a detention hearing. The court held a

detention hearing on September 26, 2019, Defendant was detained and a formal Order of

Detention (ECF No. 9) was filed.

       The Court orders that the Order of Detention Pending Trial (ECF No. 7) shall be

stricken from the record.

IT IS SO ORDERED.

       Dated September 30, 2019, at Topeka, Kansas.



                                                 s/Angel D. Mitchell
                                                 Angel D. Mitchell
                                                 U.S. Magistrate Judge
